












	




IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0245-09 &amp; PD-0246-09






SAFETY NATIONAL CASUALTY CORPORATION 


(AGENT MICHAEL W. COX), Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITIONS FOR DISCRETIONARY REVIEW


FROM THE FIRST COURT OF APPEALS


HARRIS COUNTY





		Keller, P.J., filed a concurring opinion in which Johnson, J., joined.


	In addition to the considerations cited by the Court, I would add one based upon the language
and structure of the statutes that existed in 1879.  

	Article 893 was contained in a title of the Code of Criminal Procedure named "Appeal and
Writ of Error." (1)   As the Court explains, article 893 provided that appeals in bond forfeiture
proceedings - rather than being regulated by the provisions governing criminal cases - were to be
regulated by the same rules that govern "other civil actions" where "an appeal is taken or a writ of
error is sued out." (2)  The provisions that governed appeals and writs of error in civil cases were found
in a chapter of the Revised Civil Statutes that was also entitled "Appeal and Writ of Error." (3)  Article
893's reference to the "same rules that govern the other civil actions where an appeal is taken or a
writ of error is sued out" was clearly a reference to this Chapter.  And it is from Chapter 19 that the
current Rules of Appellate Procedure are derived. (4)  Chapter 19 did not promulgate any filing fees, (5)
and neither do the current Rules of Appellate Procedure. (6) 

	I join the Court's opinion.

Filed: March 3, 2010

Publish




			
1.   See Tex. Code Crim. Proc., Title X (1879).
2.   Id., art. 893.
3.   See Tex. Rev. Civ. Stat., Title XXIX, Chapter 19 (1879); id., arts. 1380-1419.
4.   Compare id. and Tex. R. App. P., passim.
5.   See Tex. Rev. Civ. Stat., arts. 1380-1419.
6.   See Tex. R. App. P., passim.


